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5
6    Attorneys for Defendant
     NOE VILLASENOR PIEDRA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 07-95 LJO
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   NOE VILLASENOR PIEDRA,                              RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, NOE VILLASENOR PIEDRA by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On April 20, 2009, this Court sentenced Mr. Piedra to a term of 141 months

25   imprisonment;

26             3.         His total offense level was 33, his criminal history category was II, and the

27   resulting guideline range was 151 to 188 months. The Court departed downward to a sentence of

28   141 monts;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Piedra was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Piedra’s total offense level has been reduced from 33 to 31, and his amended
5    guideline range is 121 to 155 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Piedra’s term of imprisonment to 121 months.
8    Respectfully submitted,
9    Dated: May 27, 2015                                Dated: May 27, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     Kathleen A. Servatius                              DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           NOE VILLASENOR PIEDRA
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Piedra is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
21   guideline range of 121 to 151 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in April 2009 is
23   reduced to a term of 121 months, effective as of November 1, 2015.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
28

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1              Unless otherwise ordered, Mr. Piedra shall report to the United States Probation Office
2    within seventy-two hours after his release.
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     IT IS SO ORDERED.
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5         Dated:         May 28, 2015                         /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
